                          UNITED STATES DISTRICT COURT
                   OF THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                No. 5:22-cv-00050-M

MADISON CAWTHORN, an individual,

Plaintiff,

v.

MR. DAMON CIRCOSTA, in his official
capacity as Chair of the North Carolina State
Board of Elections, MS. STELLA
ANDERSON, in her official capacity as a
member of the North Carolina State Board of
Elections, MR. JEFF CARMON, in his
official capacity as a member of the North
Carolina State Board of Elections, MR.
STACY EGGERS IV, in his official capacity
as a member of the North Carolina State
Board of Elections, MR. TOMMY TUCKER,
in his official capacity as a member of the
North Carolina State Board of Elections, MS.
KAREN BRINSON BELL, in her official
capacity as the Executive Director of the
North Carolina State Board of Elections,

Defendants, and

BARBARA LYNN AMALFI, LAUREL
ASHTON, NATALIE BARNES, CLAUDE
BOISSON, MARY DEGREE, CAROL ANN
HOARD, JUNE HOBBS, MARIE
JACKSON, MICHAEL JACKSON, ANNE
ROBINSON, DAVID ROBINSON, CAROL
ROSE, and JAMES J. WALSH,

Proposed Defendant-Intervenors.


  BARBARA LYNN AMALFI, LAUREL ASHTON, NATALIE BARNES, CLAUDE
   BOISSON, MARY DEGREE, CAROL ANN HOARD, JUNE HOBBS, MARIE
JACKSON, MICHAEL JACKSON, ANNE ROBINSON, DAVID ROBINSON, CAROL
                   ROSE, and JAMES J. WALSH’S
 MEMORANDUM IN SUPPORT OF MOTION TO INTERVENE AS DEFENDANTS



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        Proposed Defendant-Intervenors Barbara Lynn Amalfi, Laurel Ashton, Natalie Barnes,

Claude Boisson, Mary Degree, Carol Ann Hoard, June Hobbs, Marie Jackson, Michael Jackson,

Anne Robinson, David Robinson, Carol Rose, and James J. Walsh (“Defendant-Intervenors”) are

the challengers under Article 11B of Chapter 163 of the North Carolina General Statutes to

Plaintiff’s candidacy -– the challenge which Plaintiff seeks to enjoin in this action. As North

Carolina voters residing in the same district in which Plaintiff has filed to run for office, Defendant-

Intervenors request intervention to protect their statutory interests to challenge Plaintiff’s

qualifications to run for office.

        In short, Defendant-Intervenors instituted and are parties to the candidacy challenge sought

to be enjoined in this action. If it is enjoined, Defendant-Intervenors will lose their statutory right

to engage in that challenge. As shown below, therefore, Defendant-Intervenors meet the standards

for intervention – both as of right and, alternatively, as a matter of discretion – under Rule 24 of

the Federal Rules of Civil Procedure.

        Defendant-Intervenors contend that Plaintiff’s constitutional challenges to the North

Carolina statutory regime that they have invoked are without merit and that Plaintiff is not entitled

to an injunction on any of the four theories which he has advanced. As the Defendant-Intervenors’

interests present common questions of law and fact as those presented in this action, and because

intervention will not unduly delay or prejudice the rights of the existing parties, Defendant-

Intervenors respectfully move to intervene in this matter.

                                    STATEMENT OF FACTS

        As set forth in Plaintiff’s own verified complaint (“Compl.”), North Carolina law “allows

any qualified registered voter registered in the same district” as “a candidate for ‘any elective office

in the State’ to file a challenge that the Candidate does not meet the constitutional or statutory

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qualifications for the office. (Id. at ¶ 2, citing N.C. Gen. Stat. §§ 163-127.1, 127.2(b).) Defendant-

Intervenors are 13 qualified voters from the North Carolina congressional district for which

Plaintiff filed his candidacy on December 7, 2021, (see id. at ¶ 9), who initiated the Challenge

against Plaintiff on January 10, 2022 (id. at 42, the “Challenge”), which is the subject of this action.

        Thus, while it is accurate to state, as Plaintiff does, that the Defendant members of the

North Carolina State Board of Elections would play a ministerial role in appointing “a panel to

conduct hearings on the Challenge” (Compl. ¶ 19), and potentially an adjudicative role regarding

an appeal of the panel’s decision (id. at ¶ 33, citing N.C. Gen. Stat. ¶ 163-127.6(a)), it is Defendant-

Intervenors who set in motion the events that led to the filing of this action by Plaintiff, and it is

their interests as Challengers which are most directly affected by Plaintiff’s effort to enjoin the

Challenge.1

                                             ARGUMENT

                        The Court Should Grant the Motion to Intervene.

        The Court should grant Defendant-Intervenors’ Motion to Intervene. As demonstrated

below, Defendant-Intervenors are entitled to intervention as of right because: (1) their motion is

timely; (2) they have a strong interest in ensuring that their rights to initiate a candidacy challenge

under North Carolina law are not impaired; (3) this action against the members of the North

Carolina State Board of Elections seeks to impair this interest; and (4) the current Defendants –




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  The day after Defendant-Intervenors filed the Challenge, on January 11, 2022, a North Carolina state court
issued a stay to all challenges – including this Challenge – pending final resolution of ongoing litigation
concerning the drawing of North Carolina’s congressional maps under the North Carolina Constitution.
(Compl. ¶ 46.) On February 4, 2022, the North Carolina Supreme Court issued an order striking down
those congressional (and other) maps as unconstitutional under the state constitution and ordering the
General Assembly to submit new maps to the trial court no later than February 18, and advising the parties
“to anticipate that new districting plans for Congress…will be available by 23 February 2022.” Harper v.
Hall, No. 413PA21, slip op., at 9 (N.C. Feb. 4, 2022), found at:
https://appellate.nccourts.org/orders.php?t=PA&court=1&id=397836&pdf=1&a=0&docket=1&dev=1.

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public officials with different roles to play in a candidacy challenge – cannot adequately represent

this interest.

        Alternatively, Defendant-Intervenors should be granted permissive intervention because

they seek to oppose the relief Plaintiff seeks as such relief will undermine and, indeed, entirely

negate Defendant-Intervenors’ statutory rights to challenge Plaintiff’s candidacy.                Thus,

Defendant-Intervenors’ interests in preventing Plaintiff from prevailing present questions of law

and fact in common with those presented in this action. Moreover, intervention will not unduly

delay or prejudice the rights of the existing parties.

I.      The Court Should Grant the Motion to Intervene as of Right.

        Pursuant to Federal Rule of Civil Procedure 24(a)(2), Defendant-Intervenors are entitled

to intervene in this action as of right. In the Fourth Circuit, a party seeking to intervene as of right

under Rule 24(a)(2) must meet four requirements:

        (1) the application to intervene must be timely; (2) the applicant must have an
        interest in the subject matter of the underlying action; (3) the denial of the motion
        to intervene would impair or impede the applicant’s ability to protect its interest;
        and (4) the applicant’s interest is not adequately represented by the existing parties
        to the litigation.

Hous. Gen. Ins. Co. v. Moore, 193 F.3d 838, 839 (4th Cir. 1999). If a party seeking to intervene

meets these requirements, it is abuse of discretion to deny the motion. See, e.g., Teague v. Bakker,

931 F.2d 259, 260–62 (4th Cir. 1991). Moreover, “liberal intervention is desirable to dispose of

as much of a controversy ‘involving as many apparently concerned persons as is compatible with

efficiency and due process.’” Feller v. Brock, 802 F.2d 722, 729 (4th Cir. 1986) (quoting Nuesse

v. Camp, 385 F.2d 694, 700 (D.C. Cir. 1967)). Defendant-Intervenors easily satisfy Rule

24(a)(2)’s requirements and the Court should grant their intervention as a matter of right.

        A.       The Motion to Intervene Is Timely.



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       In assessing the timeliness of a motion to intervene, courts in this Circuit consider three

factors: (1) “how far the underlying suit has progressed”; (2) “the prejudice any resulting delay

might cause the other parties”; and (3) if the motion is tardy, “why the movant was tardy” in filing

it. Alt v. U.S. E.P.A., 758 F.3d 588, 591 (4th Cir. 2014); see also Diagnostic Devices, Inc. v. Taidoc

Tech. Corp., 257 F.R.D. 96, 98 (W.D.N.C. 2009). However, “[t]he most important consideration

is whether the delay has prejudiced other parties[.]” Spring Constr. Co., Inc. v. Harris, 614 F.2d

374, 377 (4th Cir. 1980). These factors compel a finding that Defendant- Intervenors’ motion to

intervene is timely.

       The present motion by the Defendant-Intervenors is filed within one week of the January

31, 2022 filing of the Complaint in this action. As of the filing of this Motion, no responsive

pleadings have been filed and no hearing before this Court has been scheduled. The Defendant-

Intervenors may therefore participate in the present case without causing any delay or prejudice to

any party and, as this case remains at a “relatively early stage,” the motion is timely. See

Diagnostic Devices, Inc. 257 F.R.D. at 98; see also Order, Voter Integrity Project NC, Inc. v. Wake

Cty. Bd. Of Elections, Case No. 5:16-CV-683 (E.D.N.C. Dec. 1, 2016) (attached hereto as Exhibit

A) (finding timely motion to intervene on behalf of defendants where “the case ha[d] not

significantly progressed”); Bellitto v. Snipes, Case No. 16-cv-61474, 2016 WL 5118568, at *2

(S.D. Fla. Sept. 21, 2016) (finding motion by defendant-intervenors timely where the “case ha[d]

not progressed beyond the initial pleading stage”).

       B.      Defendant-Intervenors Have a Substantial Interest in this Case.

       In order to intervene as a matter of right, the Supreme Court has recognized that a party

must have a “significantly protectable interest.” Teague, 931 F.2d at 261 (quoting Donaldson v.

United States, 400 U.S. 517, 531 (1971)). Here, in the words of the Fourth Circuit, Defendant-

Intervenors “stand to gain or lose by the direct legal operation of the district court’s judgment on
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[Plaintiff’s] complaint.” Id. at 261. That factor as enunciated in Teague, has been held to be “the

primary factor in the court’s determination that a ‘significantly protectable interest’ existed.”

Amer. Petroleum Inst. v. Cooper, No. 5:08-CV-396-FL, 2009 WL 10688053 at *2 (E.D.N.C. Feb.

27, 2009) (quoting Teague, 931 F.2d at 261).

       The interests of Defendant-Intervenors to ensure that their legal rights as qualified voters

under the North Carolina statutes providing for candidacy challenges is an interest supporting

intervention by right. See, e.g., NAACP v. Duplin Cty., No. 7:88-CV-00005-FL, 2012 WL 360018,

at *2 (E.D.N.C. Feb. 2, 2012) (granting motion to intervene by right where the defendant-

intervenor held an interest in the “circumstances of voting in Duplin County”). In that case, the

Court considered the “special interest” of a group of “interested citizens and registered voters”

from a particular district who sought to present “discrete evidence and briefing on … the intended

purpose, scope, and effect” of the North Carolina statute at issue in that case. Id. at *2.

       Here, Defendant-Intervenors have an interest in the circumstances of voting in their

congressional district, and Defendant-Intervenors have a unique interest in the specific Challenge

proceeding Plaintiff seeks to enjoin. Either one of these interests is sufficient. Defendant-

Intervenors’ interest in the Challenge proceeding is particularly relevant because Defendant-

Intervenors are granted participation rights in the proceeding under North Carolina state law. N.C.

Gen. Stat. §§ 163-127.1(3) (defining “challenger” to include Defendant-Intervenors); 163-127.4

(allowing challengers the right to take depositions, the right to request subpoenas, the right to

notice of the hearing, and the right to present evidence); 163-127.6 (allowing challengers a right

to appeal through administrative and judicial mechanisms).

       C.      Denial of Defendant-Intervenors’ Motion Will Impair Their Interests.

       When seeking intervention as of right, the applicant must show denial of the motion “would

impair or impede the applicant’s ability to protect its interest[.]” Moore, 193 F.3d at 839. The
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court-ordered relief that Plaintiffs seek to compel would, if granted, harm the recognized interests

of Defendant-Intervenors established by North Carolina law. The threat is particularly grave

because the requested relief includes both facial and as-applied challenges to the North Carolina

statute. (See Compl. Counts I & III (facial challenges, ¶¶ 66-72, 80-85) & Counts II & IV (as-

applied challenges (¶¶ 73-79, 86-91).) Plaintiff, in other words, is asking this Court to strike down

the entirety of North Carolina’s candidacy challenge regime in a manner which would necessarily

end the proceeding initiated by Defendant-Intervenors in the North Carolina State Board of

Elections. Through its as-applied challenge, the Complaint requests that the Court enjoin the

specific Challenge proceeding to which Defendant-Intervenors are a party, even if the Court

determines that the statute can withstand his facial challenges.

       Courts require only that “an intervenor’s claim ‘bear a close relationship to the dispute

between the existing litigants and [ ] be direct rather than remote or contingent.” Duplin Cty.,

2012 WL 360018, at *3 (quoting School Bd. of City of Newport News v. T.R. Driscoll, Inc., 2011

WL 3809216 at *3 (E.D. Va. 2011) (brackets in original)). The protection of that right and the

fact that “as a practical matter,” Defendant-Intervenors will be “impair[ed] or imped[ed] [in their]

ability to protect that interest” will be lost absent intervention. Duplin Cty., 2012 WL 360018, at

*4. Here, there is much more than a close relationship; if Plaintiff prevails, Defendant-Intervenors’

Challenge will end.

       Accordingly, barring intervention, the outcome of any order, settlement or trial could

effectively determine the policies and practices impacting Defendant-Intervenors, and affect a

specific legal proceeding to which they are parties without their involvement and input. This

practical disadvantage constitutes the prejudice contemplated by Rule 24(a) and supports

intervention as of right. See Feller, 802 F.2d at 730 (permitting intervention based on “[p]ractical



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impairment”). The interests of justice and judicial efficiency mandate that Defendant-Intervenors

be made a party in the current proceeding so that these issues may be considered and litigated

simultaneously. See, e.g., Verizon South Inc. v. Sanford, No. 1:03CV01102, 2005 WL 8168024, at

*1 (M.D.N.C. Oct. 5, 2005) (allowing intervention because “[o]nce this suit is decided, there will

be no other mechanism” for the proposed intervenor to obtain a decision in its favor).

        D.      The Defendant May Not Adequately Protect the Interests of Defendant-
                Intervenors.

        In determining whether existing parties “adequately represent” the interests of intervenor

applicants, Rule 24(a)(2)’s “third requirement [is satisfied] if it is shown that representation of its

interest ‘may be’ inadequate.” In re Sierra Club, 945 F.2d 776, 779 (4th Cir. 1991) (emphasis in

original); see also Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538 n.10 (1972). “[T]he

burden of making [such a] showing should be treated as minimal.” Id.

        When a state-created defendant – such as the Board of Elections whose members are the

Defendants here – has broad regulatory responsibilities to the public as a whole, the potential

inadequacy of the representation of “the interests of a particular group of citizens” is easily

established. See Defenders of Wildlife v. N.C. Dep’t of Transp., 281 F.R.D. 264, 369 (E.D.N.C.

2012) (finding that interest of defendant state agency and intervenor were “not directly aligned”

when intervenor sought to “advocate primarily” for its individual members); Amer. Petroleum

Inst., 2009 WL 10688053 at *4 (allowing intervention because agency “must represent all the

citizens of the state,” not just those seeking a particular result in the underlying litigation).

        Plainly,   Plaintiff   and   Defendant-Intervenors      have    different   views   about   the

constitutionality, interpretation, and application of the North Carolina candidacy challenge statute.

The Defendants’ interests and interpretation of those statutes also may not be aligned with those

of Defendant-Intervenors.        The Defendants are public officials with broad regulatory


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responsibilities to the public which transcend the particular interests of the Defendant-Intervenors

with respect to the Challenge they have lodged against Plaintiff.2

        The importance of Defendant-Intervenors’ participation in this case in addition to the

participation of Defendants is underscored by the fact that many of Plaintiff’s theories relate to

issues that Defendants would have to neutrally adjudicate as part of the Challenge proceeding.

Again, the fact that Plaintiff brings an “as-applied” challenge makes it particularly important that

Defendant-Intervenors be allowed to participate. Plaintiff’s as-applied challenge is an attempt to

challenge Defendant-Intervenors’ specific invocation of that statutory scheme as a means of

protecting their voting interests. The Court should allow Defendant-Intervenors to intervene so

that Defendant-Intervenors may defend the positions they have taken in the Challenge and which

Defendants have not yet adopted as their own.

        As Defendant-Intervenors have satisfied all the requirements for intervention as of right,

their motion should be granted.

II.     Alternatively, the Court Should Grant Permissive Intervention Because Defendant-
        Intervenors’ Defenses and the Claims and Defenses of the Plaintiffs’ and Defendants’
        Share Common Questions of Law and Fact.

        In the event that the Court finds the requirements for intervention as of right have not been

satisfied, Defendant-Intervenors request that this Court grant them permissive intervention.

Permissive intervention may be granted under Rule 24(b) if a would-be intervenor establishes that

the application to intervene was timely and “alleges . . . a claim or defense that shares . . . a common

question of law or fact” with the main action. Diagnostic Devices, Inc., 257 F.R.D. at 100

(referencing Fed. R. Civ. P. 24(b)(1)(B)).



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 The Fourth Circuit has also made it clear that “[p]articipation by the intervenors as amicus curiae is not
sufficient to protect against these practical impairments” because “[a]micus participants are not able to
make motions or to appeal the final judgment in the case.” Feller, 802 F.2d at 730.

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       As discussed above, Defendant-Intervenors’ Motion to Intervene is timely and intervention

will not “unduly delay or prejudice the adjudication of the original parties’ rights.” Fed. R. Civ. P.

24(b)(3). Additionally, Defendant-Intervenors’ defense and the main action both concern an

identical legal question – whether the candidacy challenge can proceed according to North

Carolina law. For that reason, the Defendant-Intervenors have provisionally filed with this motion

a memorandum opposing the preliminary injunction sought by Plaintiff.

       Indeed, “[i]n determining whether to allow permissive intervention, courts may consider

whether such intervention will ‘contribute to full development of the underlying factual issues in

the suit and to the just and equitable adjudication of the legal questions presented.’” Students for

Fair Admissions v. Univ. of N.C., 319 F.R.D. 490, 496 (M.D.N.C. 2017) (quoting Spangler v.

Pasadena City Bd. of Educ., 552 F.2d 1326, 1329 (9th Cir. 1977)); U.S. Postal Serv. v. Brennan,

579 F.2d 188, 191–92 (2d Cir. 1978) (citing Spangler, 552 F.2d at 1329, for the same proposition).

                                            CONCLUSION

       The Court should grant Defendant-Intervenors’ motion to intervene as of right or, in the

alternative, for permissive intervention.

       This the 7th day of February, 2022.

                                                      Respectfully submitted,

                                                      /s/ Pressly M. Millen
                                                      Pressly M. Millen (State Bar #16178)
                                                      Raymond M. Bennett (State Bar # 36341)
                                                      Scott D. Anderson (State Bar # 49044)
                                                      Hayes Jernigan Finley (State Bar # 47834)
                                                      Womble Bond Dickinson (US) LLP
                                                      555 Fayetteville Street, Suite 1100
                                                      Raleigh, NC 27601
                                                      Office: 919.755.2135
                                                      Fax: 919.755.6067
                                                      Email: Press.Millen@wbd-us.com
                                                              Ray.Bennett@wbd-us.com

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                                         Scott.D.Anderson@wbd-us.com
                                         Hayes.Finley@wbd-us.com

                                  John R. Wallace (State Bar #7374)
                                  Lauren T. Noyes (State Bar #28130)
                                  Post Office Box 12065
                                  Raleigh, NC 27605
                                  Office: 919.782.9322
                                  Fax: 919.782.8133
                                  Email: jrwallace@wallacenordan.com
                                  ltnoyes@wallacenordan.com

                                  Robert F. Orr (State Bar #6798)
                                  3434 Edwards Mill Road, Suite 112-372
                                  Raleigh, NC 27612
                                  Office: 919.608.5335
                                  Email: orr@rforrlaw.com

                                  Of Counsel

                                  James G. Exum, Jr. (State Bar #1392)
                                  6 Gleneagle Ct.
                                  Greensboro, NC 27408
                                  Office: 336.554.1140
                                  Email: jimxzoom@gmail.com

                                  Ronald Fein*
                                  John C. Bonifaz*
                                  Ben Clements*
                                  Courtney Hostetler*
                                  Benjamin Horton*
                                  Free Speech For People
                                  1320 Centre St. #405
                                  Newton, MA 02459
                                  Office: 617.244.0234
                                  Email: rfein@freespeechforpeople.org

                                  Attorneys for Defendant-Intervenors
                                  Barbara Lynn Amalfi, Laurel Ashton,
                                  Natalie Barnes, Claude Boisson, Mary
                                  Degree, Carol Ann Hoard, June Hobbs,
                                  Marie Jackson, Michael Jackson, Anne
                                  Robinson, David Robinson, Carol Rose, and
                                  James J. Walsh

                                  *Special appearances pursuant to L.R. 83.1

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